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6    AARON DAVID FARRELL
7
                          UNITED STATES DISTRICT COURT
8
                        SOUTHERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                 CASE NO.: 20MJ4606
11                      Plaintiff,             NOTICE OF APPEARANCE
                                               AS LEAD COUNSEL
12         v.
13   AARON DAVID FARRELL,
14                      Defendant.
15
16         Pursuant to the CM/ECF procedures in the United States District Court for
17   the Southern District of California, Paul A. Barr, Federal Defenders of San Diego,
18   Inc., hereby gives notice that he is lead counsel in the above-captioned case.
19                                         Respectfully submitted,
20
21   Dated: October 26, 2020               s/ Paul A. Barr
                                           Federal Defenders of San Diego, Inc.
22                                         Attorneys for Defendant
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                                                                               20MJ4606
                                     NOTICE OF APPEARANCE
                                       AS LEAD COUNSEL
